Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 1 of 27 Page |D #:12
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PORTFOL!O RECOVER\' ASSOCIATES LLC
Ra.mi N. Haddad (SBN; 253400) ‘

140 Corporalc Bou1cvard

Norfolk. VA 23502

Tdephnne: 757-481-8359

Fu: 75?-321-2.$18

Email: mhaddad@ponfoliorccovery.com

Auomey for Dcfcndam
PORTFOLIO RECOVERY AS SOClATF.S LLC

 

GLADYS LDPEZ
Plainliff.
vs.

PDRTFOUO RECOVERY ASSOC{ATES LLC

Dc{cndam.

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UNFTED STATE-S DISWICF COURT
CENTRAL DISTRICT OFCAUFORNIA
WESTERN DIVISION

 

 

NOTICE OF REMDVAL

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant Portfolio Recovery Associates, LLC
(“Defendant”), by and through its undersigned counsel, hereby removes to this Court the state court
action described below.

1. On August 26, 20 `l3, a complaint was filed against Dcfendant in an action pending in the
Superior Court of the State of California for the County of Los Angeles entitled llopez V. Portfolio
Recovery Associates LLC, Case No. 13K'12031.

2. PRA was served With a copy of thc complaint and summons on September 6, 2013. A
copy of the state court Summons and Complaint_, the Civil Case Cover Sheet, that were served on
Defendant and all other documents filed in the State Court action are attached hereto as Exhibit A.

3. This removal petition is timely under 28 U.S.C § `l446(b) because Defendant was served
with the Original Complaint on September 6, 2(}13.

.]URlSDICTI()N

`l. This action is a civil action of which this Court has original jurisdiction under 28 U.S.C.

§ 1331 and which may be removed to this Court by Defendant pursuant to the provisions of 28
§U.S.C. 1441(b) in that the Cornplaint alleges claims against Defendant that arise under federal law.
See Exhibit A.

2. The United States Suprenie (`,`ourt has held that "'in certain cases federal question
jurisdiction will lie over state~law claims that implicate signiiicant federal issues[,]” therefore “a
federal court ought to be able to hear claims recognized under state law that nonetheless turn on
substantial questions of federal law."` Gmb!e & Sons Matai products lnc. v, Darue Eng’g & Mfg.,
545 U.S. 308,312 (_2{]05). "‘[A] a state-law claim could give rise to fcderal~question jurisdiction so
long as it ‘appears from the [complaint| that the right to relief depends upon the construction or
application of [federal law].”’ !d. (citing Smi`r.h v. Kansas Cr`ty Titie & Trust Co. 255 U.S. 18[], 199
(1921)).

3. Plaintiff’ s Cornplaint, contains two causes of action. The first cause of action alleges
violations of the Rosenthal Fair Debt Collection Practices Act (the “RFDCPA”), Cal. Civ. Code §

1788, et seq. The second cause of action arises under the Federal Debt Collection Practices Act (the

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“FDCPA"'). The Complaint relies on various sections and definitions of the FDCPA which is
incorporated into the RFDCPA. In partieular._ Plaintiff alleges that the financial obligation at issue in
this case is a “debt” as that term is defined by § 11692(&1)(5) of the FDCPA. See Exhibit A,
Complaint, Paragraph 3. Similarly the Plaintif[ alleges that the Defendant "‘regularly attempts to
collect debts alleged to be due another and therefore is a ‘debt eollector’ as defined by the FDCPA,
15 U.S.C. § 1692(a)(6) and RFDCPA, Cal. Civ. Code § l?88.2(__c).” See Exhibit A, Complaint,
Paragraph 3.

4. Plaintiff alleges that Defendanr’s conduct violated both the RFDPCA and the FDCPA in
multiple ways including but not limited to causing Plaintifl"s phone to ring repeatedly with the intent
to harass, annoy, or abuse Plaintiff [§ 1692d(5), Cal. Civ. Code § 1788.11(d) and (e)], and by
Communicating with Plaintiff at times or places which were known or should have been known to be
inconvenient [§ '1 692c(a)(`l )].

5. Plaintiff"s first cause of action is under the `RFDCPA. However the RFDCPA, specifically
section 17?8.1?, requires debt collectors to comply with the provisions of the FDCPA sections
1692b to 1692j, inclusive of, and shall be subject to the remedies of § 1692k of Title 15 of the
United States Code. Plaintiff alleges violation of § 1692d, § '1692d(5), § `1692c(a)(1), § `1692e(1(}),
§16926(2)(A) and § 1692g(a) (1_) all of which arc incorporated into the RFDCPA. Plaintifl`S
RFDCPA Cause of action arises under the FDCPA as incorporated by statute and the violations of
which are provided a remedy for under § 1692k.

6. Plaintiff’ s RFDCPA cause of action ""tum on substantial questions of federal law"
because it requires the determination of whether Defendant"s conduct violated sections § 1692d(5),
c(a)(l), and f and f((l) of the FDCPA. l\/loreover_. P|ainriff's remedies are subject to section § `l692k
of the FDCPA making the right to relief dependent upon the construction or application of federal
law. Accordingly, jurisdiction in this court is proper

'i". As the Complaint was filed in the Superior Court of the State of California, County of
Los Angeles, venue in this District is proper See 28 § L..'.S,C. l~'l4l{_`a) (providing for removal “to the

district court of the United States for the district and division embracing the place" where the state

 

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court action is pending); 28 U.S.C. § 84(d) (Central District comprises, inter alia, the County of Los
Angeles).

8. Defendant will promptly file a copy of this notice in Supcrior Court of the State of
California, County of Los Angelcs. Defendant will also promptly serve a copy of this notice upon
Plaintiff.

9. Defendant is represented by the undersigned counsel. By removing this matter,
Defendant does not waive any objections it may have as to service, jurisdiction, or venue, or any
other defenses or objections it may have with this act.ion. Defendant expressly reserves any and all

defenses_, motions_, and/or pleas.

DATED: 10/2/2013 PORTFOLIO RECOVERY ASSOCIATES LI_.C
By:

 

Rarni N. l'laddad
Al.torne y for Defendant
Portfolio Recovcry Associates LLC

 

 

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PROOF OF SERVICE
l, the undersigned declare:

l am employed in the City and County of Norfolk, Virginia_ l am over the age of eighteen
years and not a party to this action. My business address is 140 Corporate Boulevard, Norfolk!
Virginia 23502. I am readily familiar with the business practices of my employer, Porlfolio
Recovery Associates, for the collection and processing of correspondence by mailing with the
United States Pestal Service and that said correspondence is deposited with the United States Postal

service that same day in the ordinary course of business

On October 2, 2013, l caused the NOTICE OF REMOVAL to be served upon the parties

listed below via U§ Mail:

Todd M, Friedman

369 s_ poverty Dr. #415

Beverly Hi.lls, CA 90211

Law Oft“tees of Todd M. Friedman, P.C.
Attorney for Plaintiff

I declare under penalty of perjury that the foregoing is true and ccrrecl. Executed at Norfolk

Virginia on this 2nd day of Octebcr 2013.

 

 

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EXHIBIT A

 

 

Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 7 of 27 Page |D #:18

 

  
 
   

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NOT|CEL You have been sued. The court may decide against you without your being heard unless you respond within 30 doys. Reao the information
below.

You have 35 CALENDAR DA‘\"S alter this summons and legal papers are served on you to file a written response al this oourland have a copy
served on the pla|n:ltf. A letter or phone call will not protect you. Yourwritto.n response must be in proper Togat lorrrl if you went the court lo hear your
mse. There may be a courtt‘omi that you con use for your response You can find these oourl forms and more lnformalion al the California Courts
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use court o|erlr. for a fee waiver lorrn. |fyou do not t`le your response on llme. you may lose mo rose by delaull. and your wages. money, and property
may be taken without further warn|ng from lhe ooun_

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these nonprofit groups at the Ca|llomia l.egal $oryloes Web site [uww_lawherpouln‘orrlla.org}_ the Catltornia Courts Gr\|ine Sell'-Help Cem,er
(m\r.¢;ourlinro.::a_goy!oelrholp). or by competing your localool.lrt or county bar association NOTE: The court has a statutory lien for waived rees ann
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Los Angeles, CA 900 12
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Toclcl lvl. Friedman, 369 S. Doheny Dr_, #415, Bevr:rly Hills, CA 90211, 37'?~206-4'?41

oATE: John g malice Clerk. by Anahe}]a F]‘guema . Deputy
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NDTICE TO THE PERSON SERVED: You are served

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Todd M. Friedman (216?52]
Nicholas J. Bontrager (252114)
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tfriedman@attomeyst`nrconsuroers.corn
SUPERIOR COURT OF THE STATE OF CALIFORNIA

nbontrager@attorneysforconsumers.com
sweerosuriya@attorneysforconsumers_t:om
FOR TI-IE COUNTY OF LOS ANCELBS
LIMITED JURISD]CTION

Attomeys for Pla`mtifi'

 

Case`No. 13K12031
GLADYS LOPEZ., COMPLAINT FOR VIOLATION
OF ROSENTHAL FAIR DEBT
Plaintifi`, COLLECTION PRACTICES AC'I` AND
FEDERAL FAI`R DEBT COLLECTION
VS. PRACTICES ACT

PORTFOLIO RECOVERY ASSOCIAT S
LLC,

(Amount not to exceed Sl 0,0[]0)

1. \liolation of Rnsenthal Fedet‘al
Fa,ir Debt Collectiorl Praclices Act

2. Violation of Fair Debt Coliection
Practices Act

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Defendant. )
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I. INTRODUCTION

l. 'I'his is an action for damages brought by an individual consumer for Defendant's
violations of the Rosenthal Fair Debt Collcction Pmcl.ices Act, Cal Ci\r Cocl.e §1738, el seq.
(hereinafler “RFDCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §1692, er seq_
(hereinaf"ter “FDCPA"), both of which prohibit debt collectors from engaging in abusive,

deceptiye, and unfair practices.

Complaint - l

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Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 9 of 27 Page |D #:20

t II. PART['ES

2. Plaintif`f, GLADYS LOPEZ (_“Plaintif”f"’), is a natural person residing in Los
Angeles county in the state of Califomia, and is a “consurner” as defined by the FDCPA, 15
U.S.C. §169221(3} and is a “debtor" as defined by Cal Civ Code §l'}'SS.Z[h).
5 3. At all relevant times herein, Defendant, PORTFOLlO RECOVERY

7 ASSOCIATES, LLC, (“Dcfentiant”) was a company engaged, by use of the mails and

3 telephone, in the business of collecting a debt from PIaintii`f which qualifies as a “debt,” as
9

defined by 15 U.S.C. §1692a(5], and a “consumer debt,” as defined by Cal Civ Code
10

§l?$S.'.Z(f). Defendant regularly attempts to collect debts alleged to he due another, and
t2 therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C. §l692a{6), and R]"`DCPA=

'3 cat civcode §1733.2(¢).

14
lll. FACTUALALLEGATIONS

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m 4. At various and multiple times prior to the filing of the instant complaint,

m including within the one year preceding the filing of this complaint, Defendant contacted

lS Plaintif‘f in an attempt to collect an alleged outstanding debt.

19 S. On or about February, 2013, P`taintiff received numerous calls from Defendant
:} regarding an alleged debt owed Defendant called Plaintiff excessively and to the point of
22 harassment, To the best of Plaintifi‘s knowledge, she does not owe a debt to Defendant.

33 6. Defendant did not provide anything in writing to Plaintif`f. Defendant did not

24 notify Plair\.til‘f'oi"her right to dispute the alleged debt.

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?. On March 12, 2013, Plaintif'i`s counsel sent a notice of representation and
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request for validation of the debt to Defendant. Defendant has failed to respond to that letter at
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23 this time.

Complaint -2

 

 

 

Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 10 of 27 Page |D #:21

l 3. Defendant’s conduct violated the FDCPA and the RPDCPA in multiple ways,

including but not limited to:

a] C_omrnunicating with Plaintiff at times or places which were
4 known or should have been known to be inconvenient for
Plaintift` (§l 692c(a){l]);

5 b} Engaging in conduct the natural consequence of which is to
harass, oppress, or abuse Plaintit`f(§ 1692d));

8 c) Causing Plaintift"s telephone to ring repeatedly or continuously
with intent to harass, annoy or abuse Plaintiil`(§1692d(5));
9
d) Causing a telephone to ring repeatedly or continuously to annoy
'° - Plaiatiff(ca civ code §1733_11(d));

e) Cornmun`tcating, by telephone or in person, with Plaintiif with
12 such frequency as to be unreasonable and to constitute an
harassment to Plain!iIT under the circumstances (Cal Civ Code
‘3 §wss.li(e));

m
f) Using false representations and deceptive practices in connection
l$ with collection of an alleged debt from Plaintif"f(§ 1692c(10); and
'6 g) Falsely representing the character, amount, or legal status of
n Plaintif’f’s debt (§1692e(2){A]); and
13 h) Failing to provide Plaintiff with the notices required by 15 USC
19 §1692g, either in the initial communication with Plaintiff, or in
writing within 5 days thereof`(§1692g(a}).

10

9. As a result of the above violations of the FDCPA and RFDCPA, Plaintiff
?.l
22 suffered and continues to suffer injury to Plaintifi"s feelings, personal humiliation,

23 embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff i"or

14 P':aintif°f’s actual damagcs, statutory damages, and costs and attomey’s fees.

 

25
COUNT 1.' VIOLAT[ON OF ROSENTHAL
26 FAlR DEBT COLLF.CTTON PRACTICE:S ACT
27 l[}. Plaintii`f reincorporates by reference all ol` the preceding paragraphs
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Complaint -3

 

 

 

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ll. To the extent that Defenda.nt’s actions, counted above_. violated the RFDCPA,
those actions were done knowingly and willfully
PRAYER FOR RE[.]EF

WHEREFORE, Plaintiff respectfully prays thatjudgrnent be entered against Defendant

for the following:

Declaratory judgment that Defendant’s conduct violated the RI~`DCPA;
Actual damages;

Statutory damages for willful and negligent violations;

Costs and reasonable attorney’s fees,

For such other and further rcliefas may bejust and proper.

F“FJ.OF°P’

COUNT II: VIOLATION OF FAIR DEBT
COLLEC"[`ION PRACTICES ACT

lZ. Plaintifl"reincorporates by reference all of the preceding paragraphs

PR_AYER FOR RELIEF

WHERE.FORE, Plaintiff respectfully prays that judgment be entered against Defendant

for the following:

Declaratory judgment that Defendant’s conduct violated the FDCPA;
Actua.l damages;

Statutory damages;

Costs and reasonable attorney's t`ees; and,

For such other and further relief as may be just and proper.

PLAINTIFF HEREBY nno_as'rs AMA,BVG

Rcspectfuil) submitted this l[Jth day .lune,}f/
’w/__,/

§“.C’O.W?‘*

By:
Todd M. Friedrnan, Esq.

l.aw Offices ol'Todd M. Friedtnan, P.C.
At'torney for Plaintiff`

Complaint - 4

 

Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 12 of 27 Page |D #:23

 

 

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* Filc this cover sheet in addition to any cover sheet required by local coon rule.

¢ :l‘ this case is complex under mle 3.400 et seq, of the Cal`tl'ornla Rules of Court‘ you must serve a copy of this cover sl'.eel on all
other parties to the action or proceeding,

- Unless this ls a collections case under rule 3.740 or a t-.omolelrL case, this cover sheet will he used lor slatlstical purposes cni#\;,

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Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 13 of 27 Page |D #:24

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INSTRUCTIONS DN HOW TO COMPLETE THE COVER SHEET

To Plalntlits and Dthers Fiiing First F'apers. ll you are listing a l~'rrst paper (for example a complaint} in a civil casel you must
complete and litel along with your first paper_ the 0th Case Ocver Sheel contained on page t. T‘his information will bc used to compile
statistics about the types and numbers pt cases tiled. You most complete items 1 through 6 on the sheet |r. item l. lou must check
one box for the case type that best describes the oase. ll the case fits both a general and a more specific type ofcasc listed t'n item t,
check the more specitic one. ll the case has multiple causes of action_ mack the box that best indicates the primary cause of action
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided betolnt. A cover
sheet must be filed only with your inlllat paper. Fallure to tile a cover sheet with the first paper lilco in a civil case may subject a party.
its counse|, or both to sanctions under rules 2.39 and 1220 cline Calitot'nia Rules of Court.

To Parties in Rula 3.?40 Collecrions Cases. A "col|ections case" under rule 3.?40 is defined as an action lar recovery of money
owed in a sum stated to be certain that is not rnora than 525_000_ exclusive ot interest and attorneys fees arising from a transaction in
which proporty_ services or money was acquired on credit. n collections case does not include an action seeking the following l_t) '.or‘.
damages (2) punitive damages, {3) recovery of real oroperty. tall recovery of personal property, or i5) a prejudgment writ or
attachment. The identiication cl a case as a rule 3.'."40 collections case on this form means that ll will be exempt from the general
time-lor-service requirements and case management rules, unless a defendant nies a responsive pleading. A rule 3.?40 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.?40.

To Pa rt‘.les in Comple)t Cases. in complex cases only_ parties must also use the Ct'vt`t Case Ccver Sheet to designate whether the
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completing the appropriate boxes tn items 1 and 2. ll a plaintiff designates a case as complexl the cover sheet must l:lc served with the
complaint on all parties to the action. Pl defendant may file and serve no later than the time ol its first appearance a joinder tn the
plaintiffs designation, a counter.designatlon that the case is nor complete or. if the plaintiff has made no clrrsigreat:lct»l"tl a designath d:a:

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ClViL CASE. COVER SHEET ADDEN DUM AND
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` This form is required pursuant to L.ocal Rula 2.0 in all new civil case filings in the Los Angelcs Superior Court.

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case in the left margin belowt and. to the right in Column A. the Ci\ri| Case Cover Sheet case type you selected

Step 2; Chgck one Superior Cou:t type of action Irl Column B below which best describes the nature of this case.

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U AB1TD F’eii!l'i:l!‘l for REI|'E[UO|IT| LBtE Cla\'n Law ?., 3.. 4., B.
L `E A51i'ii:i Oiher Ciuii Peiii]ori 2.. 9.
LA{:|V 109 {Rev_ 03.¢11} ClV\L CASE COVER SHEET ADDENDUM Lr.icai F~'.ule. 2.0

LASG Approved 03-04

AND STATEMENT OF LOCATION

Page 3 oH

 

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tCeise 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 17 of 27 Page lD #:28

 

SHORT TlTLE: C.ABE NUMB ER

Gladys l_opez v. Portfo|io Recovery Associa‘.es. LLC

 

 

 

item lll. Statement of Location: Enter the address ofthe accidentl party's residence or plaoe ofbuslness, perforrr'.arioe, or other
circumstance indicaled in item ll.. Step 3 on Page 1l as the proper reason fci-tilan in the court location you selected

 

' monsss: 1
RELSDN: Cl'irtek the appropriate boxes for the numbers shown 1471W‘C.,pmgs 51_
under column 0 for the type erection that you have selected for

this case.

t:l1. :[2. I3. |'34. |35. [16. l:l?. l:lB. |:l9. l:ltO.

 

Cl‘l'\‘: STATE: ZlF C!JDE:
San Dlmas CPi 91?'?3

 

 

 

item lv. Dsci'erelion ofAssi'griment: l declare under penaltyl of perjury underthe laws of the Stare of Califomie that the foregoing is +ri.ie
end correct and that the eboveeiilltled matter is properly filed for assignment to the St‘*“ley M§k
Ceml Dislriot of the Superi'or Coi.irl of Califomia, Cciunly of Los Angeles {Code Clv- Proc.. »:i_.l and Local
RL'le 2,[). subds. (b), (C] and [d]].

   

gated; June1l]l 2013

 

',SI'GNATUFGOF ATTOR.NEY!FILlNG FAR\'Y)

PLEASE HAVE THE FOLLOW|NG lTEMS COMPLETED AND READY TO BE FlLED |N ORDER TO PROPERLY'
COMM ENCE YOUR NEW COURT CASE:

Clr|glna| Complaint or Petitlon.
Ii ming a Complaint a completed Summons form fori'ssuance by the C,lerk.

Civll Case Gover Sheei, Judi‘cial Counci| form CM-010.

,i»ci.\.»-

Civl| Case Cover Sheet Addendun'i and Statemenl of l_ocation iorm, LAClV 10§, LASC Approved 03-04 (Rev.
osr11).

Payment in tull ofthe tilan ¥ee1 unless fees have been waived.

.U\

6. A signed order appointing the C-i_`uardian ad Litem. Judiciai Counci| form Cl\.t-[`H'.'Jl ii the plaintifforpetitioneris a
minor under 13 years of age will be required by Courl in order lo issue a summons

`i’_ Additional copies of documents to be conformed by t_he C|erk. Cop_|es of the cotter sheet end this addendum
must be served along with the summons and oomplaint, or other initiating pleading in the case.

 

'Laciv ins {Rev.oa.fii) CIVlL CASE COVER SHEET ADDENDUM Lccat Ri.iie 2.u
LASc Apprm.-e:t os-o»i AND STATEMENT OF LOCAT|ON nge 4 014

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Case 2:13-cv-O7274-ABC-E Documentl Filed 10_/02/13 Page 18 of 27 Pag

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S_U?ERIOR COURT OI" THE STATE OF C_AL]FORNIA

FOR THE COUNTY OF LOS ANGELES

_ 1 3 K 1 2 0 3 1
ln re `[_.os Angeles Supenor Collrt Cascs Gci:ieral ) Case No.:
Orclcr - Limioed Jurisdictiou (Ncn~Col.!octions) )
Cascs ) GENERAL ORDE_R
)
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TO EA.CH PARTY AND TO THE A'I"[`ORNEY OF RECORD FOR EACH PARTY:
Pursuant to the California Code of Civil Proeedurc. the Califomiii Rules of baum and the
Los Angeles Cou.nty Court Rulcs, the COURT HEREBY GENERALLY ORDERS AS
FOLLOWS IN'I`HIS AC'[`lON: 1 l

1. PLAINTIFF;S IsrAhE GRDERED TO sEer A coPY oli" THIS

cENi-:RAL om:i`ER oN THE DEFENDANT_gS wlTH,coPlEs orr THE sUMMONS

AND CO]\{PLA.[NT AND 'I`O FlLE PROOF OF SERVICE, AS MANDATED IN 'I'HIS

ORDER. (Code C_iv. Pro¢., § 594, suhd. (b).)

2, The Court sets the following tn`al date in this case in Department 77 st the

Stai:iley Mosk Courthouse, lll North Hjll Strect, Los Angelcs, CA 90012:
Pos.-* 2 _za annum 2 35 misuse g 26 m

 

TRI.AL:
* Date: ' at 8:30 a.m.

 

 

 

SERVICE OF SUMMONS AND COMPLA]NT

3. The trial date set forth above is conditioned on the dcfcndantfs' being served

_ with me summons and w@iamt wiman six (6) months ama sting gmc compiaint. the

UENERALORDER-l

 

 

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Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 19 of 27 Page lD iié:SOv -. ~

tri-al date will be continued to slater date if service is not accomplished within six (6) `
1 months 'I`he parties may stipul c to keep the original trial date even if service of the
3 summons and complaint is not clompleted. within six (6] months of the filing of the original
‘ complain v [

4. The summons on1 complaint shall be served upon the defendantis within pari
1 51 years after the complaint is filed in this action. (Cocle Civ. Proc., § 583.2'1 0, subd. {a).)
ii Failure to comply will result in dismissal, without prejudioe, of the action1 as to all unserved
9 poses who have not been monica os ofthoi date (codo civ. Proo_, § ss 1, sum (b)(i).).
m The dismissal ss to the unservcd| pa.i'ties, without prejudice, for this case shall be effective on

ll

2 the following date'. 1
t

 

13 1
UNSERVED PARTIES DISMISSAL DATE _

14

 

 

 

 

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. s 'ATR]N_: 2 25 23§50$€-. a 2 231
16 ms= 2 z 6 201€
tr j
ll §
5 . No Case Manegement Review (CMR) will be conducted in this case.

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m LAW AND MO'I'ION
21 . 6. All regui a.rly notil‘.ed pre-trial motioos_,wijl be heard i.n Department 7,»_7 on

4 ,. . .
73 Mondays, Tuesdays, chnesda}is, and Thursd.ays at 3:30 a.i:o. Motions will require parties

to reserve o hearing date by ooiii'_ng (213) 9')4.5247. Aii mooooo`ohoijio be mod in noom

24 -
g 102 ortho stanley Mooic committee
25 7. Tenmtive rulings may be posted on the Cou.rt‘s internet site at n `

21 hggisf!www.lasupetiorcou_¢torz!tentativeruling the day prior to the hearing.
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se 2:13-cv-O7274-ABC-E Documentl Filed10/02/13 Page 20 of 27 iban

Ex PARTE APPLICATIGNS
8. E)c parte applications should he noticed for 1230 p.m. in Dcpartrnent 7?. A]l
applications mustbe Eled by 1:00 p.rn.. in Room 102 of the Stanley Mosk Courthousc.
JURY FEES
l 9. 'Ihc fee shall be due no later than 365 calendar days after the filing ofthe
initial complaint (codo Civ. P.roo., § 631, solido {b) and (o).)
n S'[`lPULATION TO CON'I`]NU`E TRIAL
10. A trial will he postponed if all attorneys of record andfor the parties who have
appeared in the action stipulate in writing to a spech continued date_ lf'the St:ip\llation is
fled less than five (5) court days before the scheduled trial date, then a courtesy copy of the
stipulation must be-Eled in Departrnent ?7.. The stipulation and order should he tiled. in
Room 102'of the Stanley Mosk Courthouse with the required iiling fees. (Code Civ. Proc., §
595.2 and Govt. Code § 70617, subcl. (c)(2).)
TRIAL
ll. Parties are`to appearon the trialdatereadyto goto hial, andrnust meet and
confer_on nall pretrial matters at least 20 calendar days before the trial date. On the day of
trial the Parties shall bring with them to Department 77 all ofthc following
i. .loint Stalemil:ot ofthe Case;
ii. Motions in Limioe, which must be served and filed in accordance with the
Loca.l Rules of the Los Angelcs Supcn'or Court ( LASC), §o_c_~local rule 3.57;-
iii. 'Ioini Wimess Listdisolosing-d\e wim::sscs who will be called what they will
testify to, and how long their testimony will take; l

iv. Joint Eathibi.ts in exhibit books, numbered appropriately, and Exhibit List;

GiENER.ALolzDElt-J

 

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2:13-cv-O7274-ABC-E Docur_nentl Filed 10/02/13 Page 21 of 27 Page

v. Joint Proposed ]'1.

lry lostructions printed out for the court; and

vi. Joint I'roposed Verdict form(s) printed out for the court

12. FAI.LURE TO COMPLY WI'I‘H ANY REQU[REDIENT SE'I` FORTH

IN PARAGRAPH ll ABOVE

or THE TRLAL DATE. apa

 

M_AY RESULT IN SANC'I'[ONS OR 'I'HE VACATING

Aogcles Superior Court Local Rule 3-37,)

GOOD CAUSE APPEA_|R].'NG THEREFOR.E, ]IT IS SO ORDERED.

DATE: March 13, 2013

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H<m. Scephaniélsuwick
lodge ofthc Superior Comt

G'ENERALOHDE'R-#

D#,:32",

 

 

Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 22 of 27 Page |D #:33

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SUPERIOR COURT OF CAL[FORNIA, COU'NTY OF LOS ANGELES
NOTICE OF CASE PRocEDURES & REQUIREI»H:NTS LlMITE.D Crvm
(NoN-CoLLEcTIoN)ACHoNS

Case Nurnber'. _

THIS FORM WH_.L BE POSTED lN THE COUR'I'ROOM AND ON THE COURT‘S WEBSITE

LIMITED .]UR]SDICTION CASE l\'lANAGED/IENT PROCEDURES AN'D INSTRUCTIONS

The following critical provisions, as applicable in the Ccntral District are cited for your
ioformation: _

mnsLAN_Q_ARDS=

COMPLA]]`ITS: All complaints should be served and the proof of service filed within 60 days
after filing of the complaint

CROSS-CONIPLAINTS: Without leave of court first being obtained, no cross-complaint may be
filed by any party after their answer is liled. Cross-complaints against parties new to the action must
be served and the proof of service Eled within 30 days after the filing ol` the cross-complaint A
cross-complaint against a party who has already appeared in the action must bc accompanied by
proof of service of the cross-complaint at the time it is liled (Code Civ. Proc. §428.50).

DEFAULTS: (Local Rule 9.10, Cal. Rules ofCoLu‘t, rule 3.1 lD(g)]. lfa responsive pleading is not
served within the time to respond and no extension oftirnc has been granted, the plaintiff should file
a Request for Entry of Default within 10 calendar days after the time to respond has elapsed. The
plaintiff should request defaultjudgrnent on the defaulting defendants within 40 calendar days alter

entry of default R.equests for entry of default judgments will only be considered based upon written
submissions

EOTICED MOTIONS: All regularly noticed prc-trial motions will be heard in the Lirnitcd Civil
Courtroom _on Mondays, Tuesdays, Wednesdays and Thursdays at 8:30 a.m. and will require parties
to reserve a hearing dale in Department '7?. Motions for Stnnrnary ludgment must be identitied at
the time of reservation All motions should be filed in R.oom 102. 'I`entative rulings may be posted

on the Court’s internet site, h§tp;F/M,Iasuperioreourt.o§g[tenta!ive ruling, the day prior to the
hearing.

EX-PARTE QL_§TTERS: All pre-trial ex-parte applications should be noticed in the Limiled Civil
Cou.rt, Department ?? for 1:30 p.m. l:`.x parte appearance applications for Department ?'? will he
heard daily and must be filed by 1100 pm. daily in .R.oom 102 on the day of the hearing

Q_N!U_SURED MOTORI§IS CLA]]VIS: Delay `Reduction R.ules do not apply to uninsured
motorist claims. The plaintiff must file aNoticc of Desigrlation with the CourL identifying the case
as an uninsured motorist claim unch lnsursnce Code section l 1580_2

UTHS

Case 2:13-cv-O7274-ABC-E Document 1 Filed 10/02/13 Page 23 of 27 Page |D #:34

UNI’I`ED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNI'I`ED STATES ]UDGES

This case has been assigned to District judge Alldrev B. Collins and the assigned
Magistrate ]udge is Charles F. Eick

The case number on all documents filed with the Court should read as follows:

2:13-cv-727+ABC (Ex)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate judge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the Magistrate judge

Clerk, U. S. District Court

 

 

 

Octobcr 2, 2013 BY MDAV`{S
Date Deputy Clerk
NOTICE TO COUNSEL

A copy ofchis notice must be served with the summons and complaint on all defendants (:'fa removal action is
Fled, a copy oftht's notice must be served on allplaintrfs).

Subsequent documents must be filed at the following location:

Western Division [:| Southern Division ij Eastern Division
1 312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
bos Angeles, CA 90012 Santa Ana, CA 92701 Riversidc. CA 92501

F llure to file at the proper location will result in your documents being returned to you.

 

CV- 18 (USH 3} NOTICE OI" ASS]GNMENT TU UNIT`ED STA'I'ES }UDGES

. E 5 ST COU , T ICT
ease 2.13-0\/-07§'?'1-,31§1:“-1§ %o§d°riené, ,TL§§%§'§LQY;TFB °FF>§§Le'F§’¢i"c'>'i` 27 Page lD #:35

 

 

 

 

|. {a} PLA|NT|FFS ( Check box it you arel representing yourself l:] ) DEFENDANTS t Check box if you are representing yourself |___| ]
GLADYS LOPEZ PORTFOL|O RECOVERY ASSOC|ATES LLC
(b) Attorneys [Firm Name, Address and Te|ephone Number. |f you (b) Attorneys (Firm Name, Address and Te|ephone Number. |f you
are representing yourse|f, provide same information.) are representing yourse|f, provide same information.)
Todd l'vt, Friedman Rami N. Haddad
369 5. Dohenv Dr,#415 140 Corporate Bou|evard
Beverly Hl||s, CA 90211 Norio|k, VA 23502
ll. BAS|S OF JUR|SD|CT|ON {Ptace an X in one box on|y,} lll. ClTlZENSHlP OF PRINC|PAL PARTIES-For Diversity Cases On|y
(P|ace an X in one box for plaintiff and one for defendant]
_ F'rF oEF . . PTF DEF
1. U.S. Government 3. Federa| Questlon (U.S. C|tizen ofThiS grate |:| l m 1 lncorporated ortvrmclpa| P|ace |:| 4 ij 4
P|aintiff Government Not a Party} _ °f Busmess ‘" th's State
Cit'Zen OFA"°th‘°~rstate 1:l 2 |:l 2 |ncorporated and Principa| Place m 5 |:| 5
. . . . . , of Business in Another$rate
2. U,S. Govemment |]4. Dlvers\ty (|ndlcate Cltlzenshlp Citizen orSubject ofa 3 F _ _
Defendant ofParries in hem nn Foreign country |:| 1:| 3 °'e'g“ Na“°" l:| 6 111 6

 

 

lV. ORlGlN (Place an X in one box on|y.] 6 M it_
, Ll l-

tr Or`lginal 2. Removed from 3, Remanded from 4. Reinstated or 5_ Transferred from Anorher District
[i proceeding State Court |:i hppellareCourt [:| Reopened |:| Di§t"=f ISPEC“‘V] l:| Litigation

 

v.REQuEsTEDlN coMPLAlNT: JuRY DEMAND: Yes |j No (Check “Yes“ only if demanded in complaint.)
cLAss AchoN under F.R.cv.P. 23: |:|Yes No |:] MoNEY oEMANoEo lN coMPLAlNT: $

Vl. CAUSE OF ACT|ON [C`lte the U.S. Civi| Statute under which you are ming and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
PLNNT|FF ALLEGES \I"lOLAT|ONS OF THE RFDCF’A CAL Cl\l". CODE 1?33 AR|S[NG UNDER THE FDCPA 15 U.S.C. 1692 El' SEQ_

 

 

 
 
 
   
 

Vll. NATURE OF SU|T (P|ace an X in one box on|y).

 
 
    

   
 
  
   

        
   

 

 

 

 

 

        
   

    

   
   
 
 
   

  

 

    

  
 
 

      
 

   

 
  

  
        

  

 

 
   

     
 

        

 

 

 

 

 

 

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FOR OFF|CE USE ONLY: Case Number:

 

 

CV-?1 {09,'1 31 Cl\t'lL COVER SHE'ET Page1 of 3

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ClVlL COVER SHEET

Vlll. VENUEZ Your answers to the questions below will determine the division ofthe Court to which this case will most likely be initially assignedv This initial assignment

is subject to change, in accordance with the Cour't's Genera| Orders, upon review by the Cour‘t of your Complaint or Notice of Ren”iova|v

 

Question A: Was this case removed from
state court?

E| Yes |:l No

 

 

lf "no, " go to Question B. lf "yes," check the
box to the right that applies, enter the

 

corresponding division in response to

 

Question D, below, and skip to Section |)t.

 

E| Los Angeles Western
l:l Ventura, Santa Barbara, or San Luis Obispo WEStem
|:l Orange Southem
|:| Riverside or San Bernardino Eastern

 

 

 

Question B: ls the United States. or one of
its agencies or employees, a party to this
action?

|:| ‘r'es El No

|f"no, " go to Question C. |f "yes," check the

 

 

box to the right that app| ies, enter the
corresponding division in response to

 

Question D, below, and skip to Section |X.

 

 

 

 

 

|:| Los Ange|es |:[ Los Angeles Western
g Ventura,$anta Barbara,or$an Luis |:| Ventura,Santa Barbara,or$an Luis W t
Obispo Obispo as em
|:\ Or'ange |:| Orange Southern
|:| Riverside orSan Bernardino l:| Fiiversideor$an Bernardino Eastern
m Other E Other Western

 

 

 

indicate the location in which a

majority of plaintist reside;
indicate the location in which a |:|
majority of defendants reside:

 

indicate the location in which a
'orit `msa '

 

 

     
 

 

 

C.t . ls either of the following true? lf so. check the one that applies:
E 2 or more answers in Column C

|:| only 1 answer in Column C and rio answers in Column D

Your case will initially be assigned to the
SOUTH ERN D|V|S|ON_
Enter "SQuthern" in response to Question D, below.

lf none applies, answer question CZ to the right.

-}

 

 

 

 

 

C.Z. ls either of the following true? lt so, check the one that applies:
I:| 2 or more answers in Colurnn D

|:l only 1 answer in Column D and no answers in Column C

‘r'our case will initially be assigned to the
EASTERN D|V|SFON_
Enter "Eastern" in response to Question D, below.

|f none applies, go to the box below. l

 

 

Your case will initially be assigned to the

WES`|'ERN D'|VlS|ON.

Enter "Western" in response to Question D below.

 

 

Enter the initial division determined by Question n, B, orC above; »

 

    

 

 

 

 
 

 

WESTERN

 

 

CV-71 [09.¢'1 3}

ClVlL CO\|"ER SHEET

 

Fage 2 of3

Case 2113-Cv-Oram1»sssareqsasvenwaiea earnest nease¥oef@aaamf> #:37

 

ClVlL COVER SHEET
lX{a]. lDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO \:| YES
lf yes, list case numberlsl';
IX(b}. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO |:\ YES

lf yes, list case numberlsi:

 

Civil cases are deemed related if a previously filed case and the present case:

{Check all boxes that apply]

g A. Arise from the same or closely related transactions happenings. or events; or

|: B. Cal| for determination ofthe same or substantially related or similar questions oflaw and fact; or

|:| C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

g D. involve the same patent, trademark or copyright,_a_g_r,l_one of the factors identified above in a, b or c also is present.

 

)(. S|GNATURE OF A'l'l'ORNEY
lOR SELF-REPRESENTED LlTlGANT}:

%=g*' oArE; 10 2 (3

Notice to Counselr‘Parties:The CV~?i (JS-44} Civil Cover Sheet and the information contained herein neither replace nor supplement the Filing and service of pleadings or
other papers as required by |aw_ Thi's form, approved by the Judicia| Conference ofthe United States in September19?4,i's required pursuant to Loca| Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics. venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet}.

 

Key to Statistical codes relating to Social Security Cases:

Natui'e of Suit Code Abbrevlation

361

862

863

363

864

865

HiA

BL

D|WC

DlWW

SS|D

FiSl

Substantlve Statement of Cause of Actlon
All claims for health insurance benefits {Medlcare} underTit|e 13, Part A. of the Social Security Act, as amended. Also,

include claims by hospita|s, skilled nursing facilities, etc., for certification as providers of services under the program.
{42 UrS.C.1935FF{b))

All claims for "B|ack Lung" benefits under Title 4, Par't B, ofthe Federal Coal N'line Health and Safety Act of 1 959. (30 U.S.C.
923}

All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Social Securlty Act, as amended: plus
all claims filed for child's insurance benefits based on disability (42 U.S.C. 405 lgl)

All claims filed for widows or widowers insurance benefits based on disability under Title 2 ofthe 50cia| Security Act. as
amended {42 U.S.C_ 405 lg)]'

All claims for supplemental security income payments based upon disability filed underTitle 16 ofthe Soclal Security Act, as
amended.

All claims for retirement told age} and survivors benefits underTitle 2 ofthe Social Security Act, as amended
i42 u.s,c. 405 (gi)

 

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PROOF OF SERVICE`.

l, the undersigned deciare:

I am employed in the City and Coi.mty of Norfoik, Virginia. l am over the age of eighteen
years and not a party to this action My business address is 140 Corporatc Boulevarcl, Norfolk
Vi'_rginia 23502 l am readily familiar with tile business practices of my employer, Portfolio
Reoovcry Associa!es, for the collection and processing of correspondence by mailing with thc
United States Postal Scrvice and that said correspondence is deposited with the United States Postai

service that same day in the ordinary course of business

On Octobcr 2, 2013, l caused the CIVIL CCWER SHEET to be served upon the parties

 

iisted below via §§S Mait:

Tocld M. Friedman

369 3 Doheny Dr. #415

Beveriy Hil|s, CA 90211

Law Offices of Todd M. Friedman, P_C.
Atlorney for Plaintiff

l declare under penalty of perjury that the foregoing is true and correctl Exccuted at Norfolk

virginia on this 2"‘1 day or october 2013,

By:
Shannan R. owell

 

 

 

